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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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05 JUN-B PH h= Ih

 

ANGELA MCCUTCHEN, et al. ,
Plaintiffs,

v.

METROPOLITAN GOVERNMENT OF

NASHVILLE AND DAVIDSON COUNTY,

et al.,

Defendants.

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ROBERTri J:THGUO
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Wp. 01= TN,_ uswa-ns

No. 05-2142 Ml/v

 

ORDER SETTING TRIAL AND PRETRIAL DATES

 

Pursuant to Local Ruls 72.1(f), a Rule l€(b) Scheduling Order

Was entered on May 25, 2005, by United States Magistrate Judge

Diane K. Vescovo. In accordance With the deadlines established in

that order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to

last two to three (2-3) days, is set to begin Mondayc May

l, 2006 at 9:30 a.m. in courtroom no. 4.

2. A pretrial conference is set for Monday, April 24, 2006

at 8:45 a.m.

3. The joint pretrial order and proposed jury instructions

and voir dire questions are due by no later than 4:30

p.m. on April 17, 2006.

Ti.is document entered on the docket sheet c liance
With Ru!e 58 and/or 79(3) FRCP on _LM

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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this §§ day of June, 2005.

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QbPI-IIPPS MCCALLA
TED STATES DISTRIC'I` JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:05-CV-02142 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

